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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
PALM
- - - - TRAN, INC. AMALGAMATED :
TRANSIT UNION LOCAL 1577                                   :
PENSION PLAN, Individually and On                          :
Behalf of All Others Similarly Situated, :
                                                           :
                                   Plaintiff,              : Case No.:
                                                           : 2:20-cv-12698-LVP-EAS
                          v.                               :
                                                           : Hon. Linda V. Parker
CREDIT ACCEPTANCE                                          :
CORPORATION, BRETT A. ROBERTS, :
and KENNETH S. BOOTH,                                      :
                                                           :
                                   Defendants.             :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
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                           DEFENDANTS’ MOTION TO DISMISS
   PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT [ECF No. 31]
      Pursuant to Rules 8(a), 9(b) and 12(b)(6) of the Federal Rules of Civil Proce-

dure and the Private Securities Litigation Reform Act of 1995, 15 U.S.C. §§ 78u-4

et seq., Defendants Credit Acceptance Corporation (“CAC” or the “Company”),

Brett A. Roberts and Kenneth S. Booth (collectively, “Defendants”) move this Court

to dismiss, with prejudice, Plaintiffs’ Amended Class Action Complaint for Viola-

tions of the Federal Securities Laws (ECF No. 31, PageID.432-519 (the “AC”)) for

failure to state a claim upon which relief can be granted. On August 31, 2021, there

was a conference between attorneys for the parties, during which Defendants ex-

plained the nature of the Motion and its legal basis and requested, but did not obtain,
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concurrence in the relief sought. See L.R. 7.1(a).

      WHEREFORE, for the reasons stated in the accompanying Brief, and based

on all pleadings and papers filed in this action, all matters of which this Court may

take judicial notice, including those set forth in the exhibits attached to this Motion,

and such additional papers and arguments as may be presented at or in connection

with a hearing on this Motion, Defendants respectfully request that the Court dismiss

the AC in its entirety and with prejudice.

 Dated: September 2, 2021                        Respectfully submitted:

 SKADDEN, ARPS, SLATE                            DICKINSON WRIGHT PLLC
   MEAGHER & FLOM LLP
                                                 By: s/ Thomas G. McNeill
 Scott D. Musoff                                 Thomas G. McNeill (P36895)
 Robert A. Fumerton                              500 Woodward Avenue, Suite 4000
 Patrick G. Rideout                              Detroit, Michigan 48226
 One Manhattan West                              (313) 223-3500
 New York, New York 10001                        tmcneill@dickinsonwright.com
 (212) 735-3000
 scott.musoff@skadden.com                        Scott R. Knapp (P61041)
 robert.fumerton@skadden.com                     123 W. Allegan Street, Suite 900
 patrick.rideout@skadden.com                     Lansing, Michigan 48933
                                                 (517) 371-1730
                                                 sknapp@dickinsonwright.com

                                                 Counsel for Defendants




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                          CERTIFICATE OF SERVICE
      I hereby certify that on September 2, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system which will send notifi-

cation of such filing to all counsel of record.

                                               By: s/ Thomas G. McNeill
                                               Thomas G. McNeill (P36895)
                                               DICKINSON WRIGHT PLLC
                                               500 Woodward Avenue, Suite 4000
                                               Detroit, Michigan 48226
                                               (313) 223-3500
                                               tmcneill@dickinsonwright.com

                                               Counsel for Defendants




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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
PALM
- - - - TRAN, INC. AMALGAMATED :
TRANSIT UNION LOCAL 1577                                   :
PENSION PLAN, Individually and On                          :
Behalf of All Others Similarly Situated, :
                                                           :
                                   Plaintiff,              : Case No.:
                                                           : 2:20-cv-12698-LVP-EAS
                          v.                               :
                                                           : Hon. Linda V. Parker
CREDIT ACCEPTANCE                                          :
CORPORATION, BRETT A. ROBERTS, :
and KENNETH S. BOOTH,                                      :
                                                           :
                                   Defendants.             :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
----
               BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO
     DISMISS PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT
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                    STATEMENT OF ISSUES PRESENTED
1. Should the Court dismiss the claims under Section 10(b) of the Securities Ex-
   change Act of 1934 (the “Exchange Act”) and Rule 10b-5, promulgated thereun-
   der, because Plaintiffs’ Amended Class Action Complaint for Violations of the
   Federal Securities Laws (ECF No. 31, PageID.432-519 (the “AC”)) fails to allege
   with particularity facts showing any material misstatement or omission, including
   because (i) the AC does not allege that any statement was false when made,
   (ii) the alleged misrepresentations are non-actionable corporate puffery and
   (iii) the AC fails to identify a duty to disclose any allegedly omitted information?

   Defendants say: YES.
2. Should the Court dismiss the claims under Section 10(b) of the Exchange Act
   and Rule 10b-5, promulgated thereunder, because the AC fails to state with par-
   ticularity facts giving rise to a strong inference of scienter that is cogent and at
   least as compelling as any opposing inference of nonfraudulent intent?

   Defendants say: YES.

3. Should the Court dismiss the claims under Section 10(b) of the Exchange Act
   and Rule 10b-5, promulgated thereunder, because the AC fails to allege a causal
   connection between the alleged misrepresentations and omissions and the alleged
   loss?

   Defendants say: YES.
4. Should the Court dismiss the claims under Section 10(b) of the Exchange Act
   and Rule 10b-5(a) and (c), promulgated thereunder, because the AC fails to plead
   with the requisite particularity any common plan, fraudulent scheme or unlawful
   course of conduct that was intended to deceive the investing public?

   Defendants say: YES.
5. Should the Court dismiss the “control person” claims under Section 20(a) of the
   Exchange Act because the AC does not sufficiently allege facts establishing any
   underlying violation of the federal securities laws?

   Defendants say: YES.



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        CONTROLLING OR MOST APPROPRIATE AUTHORITY
15 U.S.C. § 78u-4

Fed. R. Civ. P. 9(b)

Benzon v. Morgan Stanley Distributors, Inc.,
     420 F.3d 598 (6th Cir. 2005)

Bovee v. Coopers & Lybrand C.P.A.,
     272 F.3d 356 (6th Cir. 2001)

Byrd v. ViSalus, Inc.,
      No. 17-cv-12626,
      2018 WL 1637948 (E.D. Mich. Apr. 5, 2018) (Leitman, J.)

City of Pontiac Policemen’s & Firemen’s Retirement System v. UBS AG
       752 F.3d 173 (2d Cir. 2014)

In re Credit Acceptance Corp. Securities Litigation,
       50 F. Supp. 2d 662 (E.D. Mich. 1999) (Edmunds, J.)

Doshi v. General Cable Corp.,
      823 F.3d 1032 (6th Cir. 2016)

Dura Pharmaceuticals, Inc. v. Broudo,
     544 U.S. 336 (2005)

In re Ford Motor Co. Securities Litigation,
       381 F.3d 563 (6th Cir. 2004)

Indiana State District Council of Laborers & HOD Carriers Pension & Welfare
      Fund v. Omnicare, Inc.,
      583 F.3d 935 (6th Cir. 2009)

In re KBC Asset Management N.V.,
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     abrogated in part on other grounds by
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Lubbers v. Flagstar Bancorp Inc.,
     162 F. Supp. 3d 571 (E.D. Mich. 2016) (Friedman, J.)

Omnicare, Inc. v. Laborers District Council Construction Industry Pension Fund,
     575 U.S. 175 (2015)

In re Omnicare, Inc. Securities Litigation,
       769 F.3d 455 (6th Cir. 2014)

In re Sofamor Danek Group, Inc.,
       123 F.3d 394 (6th Cir. 1997)

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
      551 U.S. 308 (2007)

In re United American Healthcare,
       No. 2:05-CV-72112 (LPZ/RSW),
       2007 WL 313491 (E.D. Mich. Jan. 30, 2007) (Zatkoff, J.), aff’d sub nom.
       Zaluski v. United American Healthcare Corp., 527 F.3d 564 (6th Cir. 2008)

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                         PRELIMINARY STATEMENT
      Plaintiffs1 impermissibly attempt to manufacture a securities fraud claim out

of nothing more than the announcement of a consumer protection complaint (the

“MA Complaint”) filed by the Massachusetts Attorney General’s Office (“MA

AGO”) on the last day of the alleged Class Period. In support, Plaintiffs merely

parrot the MA AGO’s allegations of purported unfair practices in Massachusetts and

collect a variety of vague and unremarkable statements issued by CAC over a multi-

year period. Unfortunately for Plaintiffs, the Sixth Circuit has squarely rejected at-

tempts to “[s]eiz[e] on a few vague statements from management [to] try to turn bad

corporate news into a securities class action,” concluding that the Private Securities

Litigation Reform Act of 1995 (“PSLRA”) “forbids such alchemy.” Ind. State Dist.

Council of Laborers & HOD Carriers Pension & Welfare Fund v. Omnicare, Inc.,

583 F.3d 935, 938 (6th Cir. 2009) (“ISDC”); see also Singh v. Cigna Corp., 918 F.3d

57, 59-60 (2d Cir. 2019) (rejecting “creative attempt to recast corporate mismanage-

ment as securities fraud” by “attempt[ing] to rel[y] on a simple equation: first, point



1
  As used herein, “Plaintiffs” refers to Lead Plaintiffs Ontario Provincial Council of
Carpenters’ Pension Trust Fund and Millwright Regional Counsel of Ontario Pen-
sion Trust Fund, “Individual Defendants” refers to Messrs. Roberts and Booth and
“Defendants” refers collectively to the Individual Defendants and Credit Acceptance
Corporation (“CAC” or the “Company”). Plaintiffs’ Amended Class Action Com-
plaint for Violations of the Federal Securities Laws (ECF No. 31, PageID.432-519)
is referred to herein as the “AC.” Unless otherwise stated, all emphasis is added and
internal citations and quotation marks are omitted.
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to banal and vague corporate statements affirming the importance of regulatory com-

pliance; next, point to significant regulatory violations; and voila, you have a prima

facie case of securities fraud!”).

      CAC is a national indirect auto finance company based in Southfield, Michi-

gan. Without CAC’s financing programs, consumers are often unable to purchase

vehicles, or they purchase unreliable ones. CAC operates in a highly regulated con-

sumer finance industry and is subject to routine regulatory oversight and scrutiny,

including government investigations and, on occasion, enforcement proceedings. To

keep investors informed, CAC transparently discloses: (i) the various legal risks to

which it is exposed, (ii) the various regulatory inquiries to which it is subject and

(iii) the potential material adverse impact that these risks and inquiries could have

on its business. Plaintiffs’ claim that these mere disclosures constitute securities

fraud fails for several separate and independent reasons:

      First, Plaintiffs have not alleged any facts—much less facts with particular-

ity—showing that any of the statements made by CAC were false when made. (See

infra § II(A).) Instead, Plaintiffs hinge their claims on (i) vague marketing state-

ments of puffery and corporate optimism concerning the “opportunity” CAC pro-

vides to consumers to “improve their lives”; (ii) admittedly “generic” statements re-

garding CAC’s regulatory risk and belief that it was operating in substantial compli-

ance with applicable laws; and (iii) quibbles over CAC’s description of its collection


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call practices and the ancillary products that it makes available to car dealers for

financing. (See AC ¶¶ 88-104.) Plaintiffs then assert, based on unadjudicated alle-

gations in a single state-law complaint, that these unremarkable statements (mostly

opinions) must have been false when made. But Plaintiffs do not explain how any

of the statements were false, particularly in the context of CAC’s robust disclosures.

      Nor can Plaintiffs identify a duty to disclose anything more than CAC dis-

closed to investors. Courts routinely reject the notion that a company has a duty to

opine on the outcome of pending regulatory proceedings or confess to unproven al-

legations of wrongdoing. See ISDC, 583 F.3d at 946 (no obligation to disclose “soft”

information regarding legal compliance absent particularized allegations “that de-

fendants knew their statements of ‘legal compliance’ were false when made”); see

also City of Pontiac Policemen’s & Firemen’s Ret. Sys. v. UBS AG, 752 F.3d 173,

184 (2d Cir. 2014) (rejecting argument that “defendants were required to disclose

that UBS was, in fact, engaged in an ongoing tax evasion scheme” because “compa-

nies do not have a duty to disclose uncharged, unadjudicated wrongdoing”).

      Second, Plaintiffs have not adequately pled scienter. (See infra § II(B).) In

lieu of particularized facts to support an inference of scienter that is “cogent and at

least as compelling as any opposing inference one could draw from the facts al-

leged,” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 324 (2007), Plain-

tiffs offer sheer speculation and conjecture. Plaintiffs’ theory of scienter also makes


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no sense. According to Plaintiffs, Defendants defrauded investors by disclosing in

painstaking detail each regulatory investigation and material litigation involving

CAC, including the MA AGO’s investigation, as well as the attendant risks. Then,

while supposedly engaging in fraud to inflate the price of CAC’s stock, both CAC

and its CFO purchased many of those shares with full knowledge that they were

trading at purportedly inflated prices. And while Plaintiffs tout the fact that one of

the Defendants (Mr. Roberts) sold a small portion of his CAC holdings during the

Class Period, they conspicuously omit that his net holdings increased during that

same period, and that the value of his holdings declined far more than the alleged

gain that Plaintiffs selectively highlight in the AC. Where, as here, an alleged infer-

ence of scienter lacks any “basis in logic or common experience,” it should be re-

jected. Nguyen v. Endologix, Inc., 962 F.3d 405, 408 (9th Cir. 2020).

      Third, Plaintiffs’ theory of loss causation is legally insufficient. (See infra

§ II(C).) The MA Complaint did not “correct” any prior statement, particularly

given CAC already had disclosed that the MA AGO had expressed its belief that

CAC may have engaged in violations of law during the putative Class Period.

      Finally, Plaintiffs’ “scheme liability” claim fails because, inter alia, the al-

leged “scheme” is wholly duplicative of Plaintiffs’ disclosure-based claim, and thus

is insufficient as a matter of law. (See infra § III.) Likewise, Plaintiffs’ “control

person” claim under Section 20(a) fails because the AC does not allege any primary


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violation of the securities laws. (See infra § IV.)

                          FACTUAL BACKGROUND2

A.    CAC and the Individual Defendants
      CAC is a Michigan-based, national indirect financing company operating in

all 50 states that accepts assignment of retail installment contracts entered into be-

tween used car dealers and consumers for the purchase of vehicles (“Consumer

Loans”). (See AC ¶ 28.) Since its founding in 1972, CAC has offered financing

programs that enable automobile dealers to sell vehicles to consumers who otherwise

may be unable to purchase vehicles, or would purchase unreliable ones. (See id.

¶ 90.) Further, because CAC reports to the three national credit reporting agencies,

“an important ancillary benefit of [its] programs is that [CAC] provides consumers

with an opportunity to improve their lives by improving their credit score and move

on to more traditional sources of financing.” (Id. ¶ 88.)

      Both of the Individual Defendants are long-time CAC executives. (See, e.g.,

id. ¶¶ 84, 93.) Mr. Roberts joined CAC in 1991 and became CAC’s CEO in 2002.

(Ex. A at 2.) Mr. Roberts served as CAC’s CEO for 19 years, until his retirement


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  The well-pleaded facts in the AC are accepted as true solely for purpose of this
motion. Tellabs, 551 U.S. at 322. But the Court need not accept conclusory allega-
tions, nor those that are contradicted by documents incorporated by reference into
the AC. See Gibbs v. Bank of Am., N.A., No. 15-cv-10688, 2015 WL 4645009, at
*4 (E.D. Mich. Aug. 5, 2015) (Levy, J.) (collecting cases). On a motion to dismiss,
“courts must consider . . . documents incorporated into the complaint by reference,
and matters of which a court may take judicial notice.” Tellabs, 551 U.S. at 322.

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on May 3, 2021. (See AC ¶ 84.) Mr. Booth joined CAC in 2004 and became CAC’s

CFO later that year. (See Ex. A at 3.) Mr. Booth remained CFO until he was elected

and appointed to serve as CAC’s CEO following Mr. Roberts’s retirement. (See id.)

B.    CAC’s Extensive Disclosures During the Putative Class Period

             1.    CAC Fully Discloses Its Regulatory Risk

      The auto finance industry is heavily regulated, with comprehensive state and

federal regimes governing virtually every facet of the industry. (See AC ¶¶ 92-96;

see also Ex. B at 11, 17, 21, 86.) To ensure that investors fully appreciate the regu-

latory risk it faces, CAC regularly publishes robust disclosures around the issue.

      To that end, the day before the start of the alleged Class Period, CAC ex-

plained in no uncertain terms that “‘[t]he regulation to which we are or may become

subject could result in a material adverse effect on our business;’ and ‘[l]itigation

we are involved in from time to time may adversely affect our financial condition,

results of operations and cash flows.’” (AC ¶ 92 (emphasis in original).) “On the

same day, Credit Acceptance filed its 1Q 2018 10-Q, which repeated verbatim the

statements above” (id.), and contained an additional regulatory and litigation risk

disclosure, only partially quoted by Plaintiffs in the AC:

      In the normal course of business and as a result of the consumer-ori-
      ented nature of the industry in which we operate, we and other industry
      participants are frequently subject to various consumer claims, litiga-
      tion and regulatory investigations seeking damages, fines and statu-
      tory penalties. The claims allege, among other theories of liability, vi-
      olations of state, federal and foreign truth-in-lending, credit


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      availability, credit reporting, consumer protection, warranty, debt col-
      lection, insurance and other consumer-oriented laws and regulations,
      including claims seeking damages for alleged physical and mental harm
      relating to the repossession and sale of consumers’ vehicles and other
      debt collection activities. As the assignee of Consumer Loans origi-
      nated by Dealers, we may also be named as a co-defendant in lawsuits
      filed by consumers principally against Dealers. . . . The damages, fines
      and penalties that may be claimed . . . in these types of matters can be
      substantial. The relief requested by plaintiffs varies but may include
      requests for compensatory, statutory and punitive damages and injunc-
      tive relief, and plaintiffs may seek treatment as purported class actions.
      An adverse ultimate disposition in any action to which we are a party
      or otherwise subject could have a material adverse impact on our fi-
      nancial position, liquidity and results of operations.

(Ex. C at 36.) Plaintiffs acknowledge (as they must) that CAC reiterated this risk

disclosure throughout the alleged Class Period. (See AC ¶ 92.)

      This was far from the only disclosure CAC made concerning the regulatory

risks inherent in its business. For example, CAC’s Annual Report for the year end-

ing 2018 contained detailed disclosures regarding the regulatory landscape and the

effect that new or changing laws or regulations could have on CAC’s business:

      Our business is subject to laws and regulations, including the Truth in
      Lending Act, the Equal Credit Opportunity Act, the Fair Credit Report-
      ing Act and various other state and federal laws and regulations. These
      laws and regulations, among other things, require licensing and quali-
      fication; limit interest rates, fees and other charges associated with the
      Consumer Loans assigned to us; require specified disclosures by Deal-
      ers to consumers; govern the sale and terms of ancillary products; and
      define the rights to repossess and sell collateral. Failure to comply with
      these laws or regulations could have a material adverse effect on us
      by, among other things, limiting the jurisdictions in which we may
      operate, restricting our ability to realize the value of the collateral se-
      curing the Consumer Loans, making it more costly or burdensome to
      do business or resulting in potential liability. The volume of new or

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      modified laws and regulations has increased in recent years and has
      increased significantly in response to issues arising with respect to
      consumer lending. From time to time, legislation and regulations are
      enacted which increase the cost of doing business, limit or expand per-
      missible activities or affect the competitive balance among financial
      services providers. Proposals to change the laws and regulations gov-
      erning operations and taxation of financial institutions and financial
      services providers are frequently made in the U.S. Congress, in the state
      legislatures and by various regulatory agencies. This legislation may
      change our operating environment in substantial and unpredictable
      ways and may have a material adverse effect on our business.
(Ex. D at 11.) While omitted from the AC, CAC explained: “[S]tate attorneys gen-

eral and state regulators have authority under their respective rules and laws to in-

vestigate and/or regulate aspects of the business. . . . We expect that regulatory

investigations by both state and federal agencies will continue and that the results

of these investigations could have a material adverse impact on us.” (Id.) These

robust disclosures were also included in the Company’s 2019 Annual Report. (See

AC ¶ 98; see also Ex. B at 11-12, 16-17.)

             2.    CAC Fully Discloses All Ongoing Regulatory Matters
      CAC’s disclosures are not limited to detailed discussion of the regulatory risks

to which it (and its investors) are exposed. CAC also discloses in every quarterly

filing the current status of any significant litigation to which it is a party and any

material developments in ongoing regulatory investigations. (See AC ¶ 133.)

      Almost 3.5 years before the start of the putative Class Period, on December

12, 2014, CAC timely disclosed that it had received a civil investigative demand



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from the MA AGO “relating to the origination and collection of non-prime loans in

Massachusetts,” and that it “intends to cooperate with the[] inquir[y].” (Ex. E at 2.)

      In the Form 10-Q filed the day before the beginning of the alleged Class Pe-

riod, CAC disclosed the status of numerous ongoing regulatory investigations.

These disclosures included, among others, the current status of ongoing investiga-

tions by the MA AGO, the Attorneys General of the States of Mississippi, Maryland

and New York, the Bureau’s Office of Fair Lending and Equal Opportunity, the

Federal Trade Commission and the U.S. Department of Justice. (See Ex. C at 36-

37.) CAC further advised that it could not predict the scope, duration or outcome of

these matters, and that an adverse ultimate disposition in any matter could have a

material adverse impact on its business. (See id.)

      Throughout the putative Class Period, CAC timely updated these disclosures

with developments to existing matters and new matters. (See AC ¶ 133.) Among

these developments, CAC provided additional details as the MA AGO’s investiga-

tion progressed, including that the MA AGO had conveyed its belief that CAC may

have engaged in unfair and deceptive acts or practices in violation of law:

   • [February 2, 2018:] [W]e received a second civil investigation demand
     from the [MA AGO] seeking updated information on its original civil
     investigation demand . . . , additional information related to the Com-
     pany’s origination and collection of consumer loans, and information
     regarding securitization activities. (Ex. F at 2.)

   • [January 30, 2019:] [W]e were informed by representatives of the [MA
     AGO] that it believes that the Company may have engaged in unfair

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         and deceptive acts or practices related to the origination and collec-
         tion of auto loans, which may have caused some of the Company’s
         representations and warranties contained in securitization documents to
         be inaccurate. The investigation relating to the origination, collection
         and securitization of non-prime loans and securities transactions by the
         [MA AGO] remains ongoing. (Ex. G at 2.)

     • [July 31, 2020:] [W]e received a third civil investigative demand from
       the [MA AGO] seeking updates on previously produced data and addi-
       tional information related to the Company’s origination of Consumer
       Loans. (Ex. H at 42.)
CAC informed investors of the current status of the MA AGO’s investigation in

every quarterly filing during the Class Period.3 Each time, CAC stated that it was

“cooperating with the inquiry” and warned that it “cannot predict the eventual scope,

duration or outcome [of the investigation] at this time.” (E.g., Ex. B at 87.)

         CAC disclosed during the Class Period that other regulators had expressed

that CAC may have violated applicable laws. For example, CAC disclosed that, “on

April 10, 2018, we were informed by the New York Department of Financial Ser-

vices [(‘DFS’)] . . . that it believes that the Company may have violated the law

relating to fair lending . . . .” (Ex. C at 36-37.) On April 29, 2019, CAC disclosed:

         On April 23, the Attorney General of the State of Mississippi . . . filed
         a complaint in the Chancery Court of the First Judicial District of Hinds
         County, Mississippi, alleging that the Company engaged in unfair and
         deceptive trade practices in subprime auto lending, loan servicing, ve-
         hicle repossession and debt collection in the State of Mississippi[.]

(Ex. I at 38.) Critically, Plaintiffs do not allege that any of these robust disclosures


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    (See, e.g., Ex. D at 12, 91; Ex. I at 39; Ex. B at 12, 87; Ex. H at 42.)

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omitted material developments during the putative Class Period.

             3.    The Market Was Fully Apprised of CAC’s Regulatory Risk

      In the context of the detailed disclosure of regulatory risks and ongoing regu-

latory matters facing CAC, the Company disclosed: “We believe that we maintain

all material licenses and permits required for our current operations and are in sub-

stantial compliance with all applicable laws and regulations.” (AC ¶ 97 (citing

2018 Annual Report); see also Ex. B at 12 (2019 Annual Report) (same).) In no

sense was this statement a guarantee of regulatory compliance. Indeed, at the time

CAC filed the 2019 Annual Report, CAC had already disclosed that the Mississippi

Attorney General had filed suit challenging certain of CAC’s business practices in

that state and the MA AGO and New York DFS had indicated their beliefs that the

Company may have violated the law. (See Ex. C at 36-37; Ex. G at 2; Ex. I at 38.)

      As reflected in various analyst reports throughout the alleged Class Period,

the market was well aware of the investment risk posed by CAC’s regulatory over-

sight and followed developments closely, including developments in the MA AGO’s

investigation and the associated investment risk.4


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 (See, e.g., Ex. J at 2 (“[S]ince 2014, the company has received inquiries or subpoe-
nas from the DOJ, FTC, CFPB, and Attorneys General of NY, MD, MA and MS. . . .
However, to date, there has not been a notable progress or material impact to the
company’s business.”); Ex. K at 2 (“[T]he company provided an update on two sep-
arate state investigations that have been underway for several years. The attorney
general offices in both Mississippi and Massachusetts notified the company that,
based on their findings thus far, it may have violated state lending laws.”).)

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             4.     CAC Timely Discloses the Filing of the MA AGO’s Lawsuit
      As with all material regulatory and litigation developments, on September 2,

2020, CAC promptly disclosed the lawsuit filed by the MA AGO:

      On August 30, 2020, we were served with a complaint, filed by the [MA
      AGO] in Massachusetts Superior Court in Suffolk County, alleging that
      the Company engaged in unfair and deceptive trade practices in sub-
      prime auto lending, debt collection and asset-backed securitizations in
      the Commonwealth of Massachusetts, in violation of the Massachusetts
      Consumer Protection Law, M.G.L. c. 93A. The complaint seeks in-
      junctive relief, restitution, disgorgement, civil penalties, and payment
      of the Commonwealth’s attorney’s fees and costs. We cannot predict
      the duration or outcome of this lawsuit at this time. As a result, we are
      unable to estimate the reasonably possible loss or range of reasonably
      possible loss arising from this lawsuit. The Company intends to vigor-
      ously defend itself in this matter.

(Ex. L at 2; see also AC ¶ 33.)

C.    Plaintiffs File This Action
      This action was initiated just one month after the MA AGO commenced its

lawsuit, opportunistically seeking to capitalize on a drop in CAC’s stock price. (See

ECF No. 1, PageID.1-42.) While the AC focuses on CAC’s Massachusetts opera-

tions (see AC ¶ 33), only a very small percentage of CAC’s business is Massachu-

setts-based. (See Ex. B at 10 (disclosing Massachusetts as one of 45 states compris-

ing 66.7% of CAC’s business with none of them accounting for more than 5%).)

D.    CAC Vigorously Contests the MA AGO’s Lawsuit
      CAC consistently expressed its intent to “vigorously defend itself” in the MA

AGO’s lawsuit (Ex. L at 2; Ex. M at 13), and maintained its belief that it is (and was)



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“in substantial compliance with all applicable laws and regulations.” (Ex. M at 93.)

CAC also commenced an action in federal court challenging the constitutionality of

a Massachusetts regulation prohibiting certain debt collection communications that

the MA AGO had threatened to enforce. See Credit Acceptance Corp. v. Healey,

No. 20-11572, 2021 WL 2403810, at *1 (D. Mass. June 10, 2021).5

      As part of its defense, CAC moved to dismiss four of the MA AGO’s seven

claims, and then vigorously opposed the MA AGO’s motion for partial summary

judgment on three of its claims concerning a Massachusetts collection call regulation

and Massachusetts statutory notice requirements. See Massachusetts v. Credit Ac-

ceptance Corp., No. 2084CV01954-BLS2, 2021 WL 1147444, at *1 (Mass. Super.

Ct. Mar. 15, 2021). CAC opposed the MA AGO’s motion because, inter alia: (i) the

MA AGO’s claims were barred by the First Amendment and the Due Process Clause

of the U.S. Constitution, (ii) the claims exceeded the MA AGO’s authority and

(iii) the MA AGO failed to carry its burden. Id. On March 15, 2021—long after the

close of the Class Period—the state court entered an order denying CAC’s motion,

and granting in part and denying in part the MA AGO’s motion. See id. at *18.

E.    CAC Settles the MA AGO’s Lawsuit

      On April 29, 2021, CAC announced an agreement in principle with the MA


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  Although the federal court ultimately dismissed CAC’s complaint on Younger ab-
stention grounds, the court “recognize[d] that enforcement of the Regulation raises
legitimate First Amendment concerns.” Healey, 2021 WL 2403810, at *4.

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AGO to settle the lawsuit, and disclosed that it “estimated a probable loss of $27.2

million, all of which was recognized as a contingent loss during the first quarter of

2021.” (Id.) On August 31, 2021, CAC entered into a formal settlement agreement,

pursuant to which CAC made no admission of liability. (See Ex. N at 2.)

                                    ARGUMENT

I.    The AC Must Be Analyzed Under Exacting Pleading Standards
      Unlike an “ordinary civil action,” federal securities actions are subject to an

“[e]xacting” set of heightened pleading standards “[d]esigned to curb perceived

abuses of the § 10(b) private action—‘nuisance filings, targeting of deep-pocket de-

fendants, vexatious discovery requests and manipulation by class action lawyers.’”

Tellabs, 551 U.S. at 319-20. Allegations of securities fraud must satisfy the require-

ments of Rule 9(b), which requires a plaintiff to state “the circumstances constituting

fraud . . . with particularity.” In re Comshare Inc. Sec. Litig., 183 F.3d 542, 548 (6th

Cir. 1999). “[T]he plaintiff, at a minimum, must allege the time, place, and content

of the alleged misrepresentation; the fraudulent scheme; the fraudulent intent of the

defendants; and the injury resulting from the fraud.” Lubbers v. Flagstar Bancorp.

Inc., 162 F. Supp. 3d 571, 576 (E.D. Mich. 2016) (Friedman, J.) (cleaned up).

      “[T]he PSLRA imposes further pleading requirements,” ISDC, 583 F.3d at

943, which the Sixth Circuit has described as an “elephant-sized boulder blocking

[securities claims].” In re Omnicare, Inc. Sec. Litig., 769 F.3d 455, 461 (6th Cir.



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2014). “The PSLRA requires plaintiffs to state with particularity both the facts con-

stituting the alleged violation, and the facts evidencing scienter, i.e., the defendant’s

intention ‘to deceive, manipulate, or defraud.’” Tellabs, 551 U.S. at 313.

      Finally, although the Court must “accept all factual allegations in the com-

plaint as true,” the Court “must consider the complaint in its entirety, as well as other

sources courts ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss,

in particular, documents incorporated into the complaint by reference and matters of

which a court may take judicial notice,” Tellabs, 551 U.S. at 322, including “the full

text of SEC filings, prospectus, analysts’ reports and statements ‘integral to the com-

plaint,’ even if not attached.” Bovee v. Coopers & Lybrand C.P.A., 272 F.3d 356,

360-61 (6th Cir. 2001). A document that is incorporated by reference, i.e., one that

is “referred to in the plaintiff’s complaint and [] central to [the plaintiff’s] claim,” is

“considered part of the pleadings.” In re Credit Acceptance Corp. Sec. Litig., 50 F.

Supp. 2d 662, 669 (E.D. Mich. 1999) (Edmunds, J.). The Court may “not accept

[P]laintiffs’ allegations as true when they are contradicted by the actual documents

central to [P]laintiffs’ claims.” Gibbs, 2015 WL 4645009, at *4 (collecting cases).

II.   Plaintiffs Fail to State a Claim Under Section 10(b) and Rule 10b-5

      To state a claim under Section 10(b) and Rule 10b-5 promulgated thereunder,

a plaintiff must adequately allege: (1) a material misrepresentation or omission;

(2) scienter; (3) a connection with the purchase or sale of a security; (4) reliance;



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(5) economic loss; and (6) loss causation. See ISDC, 583 F.3d at 942. Here, Plain-

tiffs have failed to allege a misrepresentation or omission, scienter or loss causation.

A.    Plaintiffs Fail to Plead an Actionable Misstatement or Omission

      As an initial matter, Plaintiffs fall woefully short of pleading an actionable

misstatement or omission. To plead an actionable misstatement, “plaintiffs must

identify each misleading or false statement and explain how it is misleading.” Om-

nicare, 769 F.3d at 461; see also 15 U.S.C. § 78u-4(b)(1). Similarly, to plead an

actionable omission, a plaintiff must allege that “there was a prior statement of ma-

terial fact that is false, inaccurate, incomplete or misleading in light of the undis-

closed information.” Lubbers, 162 F. Supp. 3d at 577.6

      Consistent with their efforts to turn a Massachusetts consumer protection

complaint into a national securities fraud class action, Plaintiffs devote the over-

whelming majority of the AC to rehashing the allegations in the MA Complaint.

Next, Plaintiffs collect generic and benign statements made throughout the Class

Period—including marketing statements, routine risk disclosures and other state-

ments of opinion. Then, Plaintiffs conflate the concepts of misstatement and



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  “Before liability for non-disclosure can attach, the defendant must have violated an
affirmative duty of disclosure.” In re Sofamor Danek Grp., Inc., 123 F.3d 394, 400
(6th Cir. 1997). Plaintiffs do not allege any affirmative duty of disclosure, and in-
stead appear to allege only that disclosure was necessary to make the alleged state-
ments not misleading. (See AC ¶¶ 12, 91, 100, 102, 104.)


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omission, and baldly assert that the statements were false because “Defendants failed

to disclose that [CAC] was violating the law.” (E.g., AC ¶ 91.)7 The PSLRA “for-

bids such alchemy,” ISDC, 583 F.3d at 938, and Plaintiffs’ tactics should be rejected.

             1.    Plaintiffs Do Not Allege a Misrepresentation or Omission
                   Concerning the Opportunity CAC Provides Consumers

      First, Plaintiffs allege that CAC misled investors when it stated that it “pro-

vide[s] consumers with an opportunity to improve their lives by improving their

credit score and move on to traditional sources of financing,” and explained to con-

sumers in a “blog post” that “[t]he dealer will work with you to understand the type

of vehicle you want, as well as work with your budget, to structure a contract that

meets your needs.” (AC ¶¶ 88-89; see also id. ¶ 90.) Plaintiffs assert that these

statements were false because CAC “was violating the law,” “thereby rending illu-

sory the purported ‘opportunity’ and ‘benefit’ provided.” (Id. ¶ 91.)

                   (a) Plaintiffs Have Not Alleged Falsity

      Plaintiffs do not plead any particularized facts demonstrating these statements

were false when made, i.e., that CAC did not provide consumers with the stated

opportunity or that consumers cannot improve their credit score by making on-time



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  Plaintiffs also compile a list of CW allegations from unidentified low-level em-
ployees, purportedly to “corroborate” that some of CAC’s business practices are
what the MA AGO alleged them to be. (See AC ¶¶ 41, 47, 57-58, 65.) But none of
these supposedly corroborating facts even suggests that any of CAC’s business prac-
tices were unlawful, much less that any of CAC’s statements were false when made.

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payments. See Omnicare, 769 F.3d at 478 (plaintiffs must “allege[] facts that, if

proven, would support findings that these statements . . . were objectively false or

misleading”). In fact, the AC makes several assertions of fact to suggest that CAC

did provide such an opportunity, including allegations that some customers “were

current for the entire term of their loans.” (AC ¶ 37.) This disproves any suggestion

that these statements were false when made. See Bondali v. Yum! Brands, Inc., 620

F. App’x 483, 489 (6th Cir. 2015) (rejecting allegations that defendant did not re-

quire suppliers to adhere to protocols where, “[i]n fact, the amended complaint

[made] several assertions of fact to suggest that [defendant] did impose such require-

ments” (emphasis in original)). The fact that other customers may have “missed at

least one payment and/or were delinquent at some point during the terms of their

loans” does not mean that CAC did not provide its customers an “opportunity to

improve [their] credit score” (AC ¶ 37), and “it is not reasonable to interpret [CAC’s]

statements as a guarantee” that its customers “would, in all instances,” improve their

lives by improving their credit scores. Bondali, 620 F. App’x at 489.

      Moreover, there is nothing misleading about the “opportunity” that CAC

states it provides. See Lubbers, 162 F. Supp. 3d at 578 (“Courts must look to the

context in which statements are made to determine whether an omission renders

prior statements misleading.”). CAC explained precisely what it meant by the state-

ment in the documents from which Plaintiffs selectively quote: Because CAC


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“report[s] to the three national credit reporting agencies,” the Company “provide[s]

consumers with an opportunity to improve their lives by improving their credit score

and move on to more traditional sources of financing” by making on-time payments

on their Consumer Loans. (Ex. O at 13; see also AC ¶¶ 88-90.)

                   (b) The Alleged Statements Are Inactionable Puffery

      In any event, these statements regarding the “opportunity” CAC provides are

the very type of “generalized statements of optimism that are not capable of objec-

tive verification” and, “thus, are not material, even if they were misleading.” In re

Ford Motor Co. Sec. Litig., 381 F.3d 563, 570 (6th Cir. 2004); see also ISDC, 583

F.3d at 943 (“[L]iability does not attach to mere corporate puffery or statements of

corporate optimism.”). CAC’s “vague” and “loosely optimistic” statements “fall

squarely within this realm of corporate puffery” and thus are inactionable as a matter

of law. ISDC, 583 F.3d at 944; see also In re ITT Educ. Servs., Inc. Sec. & S’holder

Derivatives Litig., 859 F. Supp. 2d 572, 580 (S.D.N.Y. 2012) (statement that “[o]ur

single internal focus continues to be . . . helping our students improve their lives

through high quality career-based education” was “typical corporate puffery”).

                   (c) Plaintiffs Have Not Alleged an Actionable Omission
      Contrary to Plaintiffs’ suggestion, the challenged statements are not rendered

misleading by omission, as there is no nexus between the alleged omission (i.e., the

failure to disclose purported legal violations) and the statements that CAC provides



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an opportunity to improve consumers’ credit. See Lubbers, 162 F. Supp. 3d at 580

(“To constitute an omission there must be a relationship between the omission and

the statement itself.”). As such, Plaintiffs’ omission theory fails. See id. (“Because

there is no relationship, it was not necessary for Flagstar to disclose [allegedly omit-

ted information] ‘in order to make the statements made, in light of the circumstances

under which they were made, not misleading.’” (quoting 17 C.F.R. § 240.10b-5)).

                    (d) Plaintiffs Do Not Allege That Investors Were Misled
      In any event, the AC at most alleges that such statements were misleading to

consumers. (See AC ¶¶ 2, 37.) But to state a claim for securities fraud, “Plaintiffs

must allege that investors were misled.” Veal v. LendingClub Corp., 423 F. Supp.

3d 785, 812 (N.D. Cal. 2019) (emphasis in original); see also Zaluski v. United Am.

Healthcare Corp. Sec. Litig., 527 F.3d 564, 571 (6th Cir. 2008) (focusing on “the

significance the reasonable investor would place on the withheld or misrepresented

information’”). CAC fully disclosed to investors that “[s]ubstantially all of the Con-

sumer Loans assigned to [it] are made to individuals with impaired or limited credit

histories or higher debt-to-income ratios than are permitted by traditional lenders,”

and thus “generally entail a higher risk of delinquency, default and repossession and

higher losses than loans made to consumers with better credit.” (E.g., Ex. B at 13.)

CAC likewise disclosed to its investors that it expects to collect less than 100% of

the payments owed on its Consumer Loans, and that, for Consumer Loans originated



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between 2010 and 2019, CAC expects to collect, on average for each year, between

64.0% and 73.6% of the repayments that CAC was contractually owed on the Con-

sumer Loans at the time of assignment. (Id. at 25-28; AC ¶¶ 30, 35, 37.)

             2.     CAC’s “Generic Risk Warnings” and
                    Compliance Opinions Are Not Actionable

      Second, Plaintiffs assert that CAC’s “generic risk warnings” and stated belief

that it was in “compliance with applicable regulations” (AC at 49 (subheading 2))

were false and misleading because CAC failed to disclose that it was “violating the

law” (based on the MA AGO’s unproven allegations), “thereby ensuring that the

Company would be materially impacted by regulation and litigation.” (Id. ¶ 100.)

                    (a) Plaintiffs Have Not Alleged a Material Misstatement

                        (i)     CAC’s Robust Regulatory Risk Disclosures
      Plaintiffs attempt to transform CAC’s robust regulatory risk disclosures re-

garding regulation and litigation that “could result in a material adverse effect on

[the] business” into actionable misstatements by arguing that CAC’s purported con-

duct (based on the MA AGO’s unproven allegations) allegedly “ensur[ed] that

[CAC] would be materially impacted by regulation and litigation.” (See id. ¶¶ 92,

100; see also id. ¶¶ 92-96; supra at 6-8.) But it is well settled that “cautionary state-

ments are not actionable to the extent plaintiffs contend defendants should have dis-

closed risk factors ‘are’ affecting financial results rather than ‘may’ affect financial

results.” Bondali, 620 F. App’x at 491; see also Benzon v. Morgan Stanley Distribs.,


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Inc., 420 F.3d 598, 612 (6th Cir. 2005) (rejecting as a “semantic quibble” argument

that prospectus was misleading for disclosing that brokers may receive different

compensation when brokers did earn more (emphasis in original)).

      “No reasonable investor could interpret” CAC’s thorough prospective regula-

tory risk disclosures “as negating the possibility” that CAC might ultimately be

found by some regulatory body or court to have violated the law. Lubbers, 162 F.

Supp. 3d at 581; see also In re Bank of Am. AIG Disclosure Sec. Litig., 980 F. Supp.

2d 564, 579 (S.D.N.Y. 2013) (same), aff’d, 566 F. App’x 93 (2d Cir. 2014). And

Plaintiffs do not allege that CAC was not facing regulatory risks that could have a

material adverse effect on its business. Plaintiffs have failed to allege that CAC’s

risk disclosures were false or misleading when made. See 15 U.S.C. § 78u-4(b)(1).

                       (ii)    Opinions Regarding Legal Compliance
      Plaintiffs also challenge CAC’s statement that “[w]e believe that we . . . are

in substantial compliance with all applicable laws and regulations.” (AC ¶ 97.) But

the Supreme Court has held in reviewing similar “legal compliance” statements that

such “a sincere statement of pure opinion is not an ‘untrue statement of material

fact,’ regardless whether an investor can ultimately prove the belief wrong.” Om-

nicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension Fund, 575 U.S. 175,

186 (2015). Thus, to plead that such a statement is misleading, a plaintiff “must

identify particular (and material) facts going to the basis for the issuer’s opinion—



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facts about the inquiry the issuer did or did not conduct or the knowledge it did or

did not have—whose omission makes the opinion statement at issue misleading to a

reasonable person reading the statement fairly and in context.” Id. at 194.8

      Plaintiffs do not allege any particularized, contemporaneous facts going to the

basis for CAC’s opinion that it was in substantial compliance with all applicable

laws. (See infra § II(B)(2)(b).) Indeed, the AC does not (and cannot) allege that any

court or other regulatory authority issued any decision or order concluding that CAC

had violated any law during the Class Period. Cf. Omnicare, 575 U.S. at 188-89.

      Instead, Plaintiffs merely assert that because, on the last day of the Class Pe-

riod, the MA AGO alleged that some of CAC’s business practices violated Massa-

chusetts law, Defendants’ Class Period statements about legal compliance must have

been false when made. (See AC ¶ 116.) These allegations fail as a matter of law.

See Bovee, 272 F.3d at 361 (“Plaintiffs may not simply rely on the proposition that

[d]efendants must have known . . . of, and participated in, the fraud.”).

      Moreover, as discussed above (see supra at 6-12), CAC fully explained the

context for its stated beliefs, namely, that it operates in a highly regulated industry,

faces regulatory risks as set forth in its robust disclosures and was cooperating with



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  Although Omnicare addressed claims under Section 11 of the Securities Act of
1933, its reasoning applies with equal force to claims under Section 10(b) of the
Exchange Act. See W. Palm Beach Firefighters’ Pension Fund v. Conagra Brands,
Inc., 495 F. Supp. 3d 622, 648 (N.D. Ill. 2020) (collecting cases).

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various regulatory investigations. See Omnicare, 575 U.S. at 196 (“[T]he analysis

of whether Omnicare’s opinion is misleading must address the statement’s context.

That means the court must take account of whatever facts Omnicare did provide

about legal compliance, as well as any other hedges, disclaimers, or qualifications it

included in its registration statement.” (emphasis in original)); see also Tongue v.

Sanofi, 816 F.3d 199, 211 (2d Cir. 2016) (ongoing dialogue between federal Food

and Drug Administration and company “about the sufficiency of various aspects of

the clinical trials” “did not prevent [d]efendants from expressing optimism . . . about

the likelihood of drug approval” because investors were well aware and “would fully

expect . . . that inherent in the nature of [that] dialogue [were] differing views”).

                       (iii)    Statements About the Dealer Servicing Agreement

      Plaintiffs next mischaracterize CAC’s statements about its relationship with

dealers, alleging that CAC “stated repeatedly how [it], and its network of dealer-

partners, comply with applicable state and federal laws and regulations, as well as

underwriting guidelines set forth by the Company.” (AC ¶ 96; see id. ¶ 97.) “A

court must not ‘pluck’ disclosures out of their context and analyze their truth in a

vacuum, but must look at the statements made in light of the circumstances and

events that create the context in which they were made.” Lubbers, 162 F. Supp. 3d

at 578. Here, the context for the statements Plaintiffs selectively quote (in bolded

and italicized font (see AC at n.15)) belies any suggestion of an actionable claim:



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      Under the typical Dealer servicing agreement, a Dealer represents that
      it will only assign Consumer Loans to us that satisfy criteria established
      by us . . . and comply with applicable state and federal laws and reg-
      ulations. . . . Through our Dealer Service Center, we perform all sig-
      nificant functions relating to the processing of the Consumer Loan ap-
      plications and bear certain costs of Consumer Loan assignment, in-
      cluding the cost of assessing the adequacy of Consumer Loan docu-
      mentation, compliance with underwriting and legal guidelines and the
      cost of verifying employment, residence and other information pro-
      vided by the Dealer. We audit Consumer Loan files for legal and un-
      derwriting guidelines on a daily basis in order to assess whether our
      Dealers are operating in accordance with the terms and conditions of
      our Dealer servicing agreement.
(AC ¶ 96 (italics in original, underline emphasis added).)

      Nowhere does the AC allege that (i) dealers do not make the above represen-

tation under the typical servicing agreement, (ii) CAC does not “bear . . . the cost of

assessing . . . compliance with underwriting and legal guidelines”; or (iii) CAC does

not “audit Consumer Loan files for legal and underwriting guidelines on a daily ba-

sis” to assess Dealer compliance with the servicing agreement. (Id.) Thus, Plaintiffs

have failed to “explain why the statements were fraudulent.” ISDC, 583 F.3d at 943.

                       (iv)    Inactionable Puffery from Shareholder Letters

      Finally, Plaintiffs challenge CAC’s statements in its 2019 and 2020 Share-

holder Letters that CAC “create[s] processes to enforce standards,” “ensur[es] the

loans [it] originate[s] meet [its] standards” and “use[s] these measures to make ad-

justments when necessary.” (AC ¶ 99.) But the AC does not allege that CAC failed

to create such processes, ensure loans met its standards or use measures to make



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adjustments. See Bondali, 620 F. App’x at 489-90; see also I.B.E.W. Local 697

Pension Fund v. Ltd. Brands, Inc., 788 F. Supp. 2d 609, 634 (S.D. Ohio 2011) (no

claim when statements were “unsupported by allegations of their falsity”). These

statements are also classic inactionable puffery. See Ford, 381 F.3d at 570-71; see

also ECA, Local 134 IBEW Joint Pension Tr. v. JP Morgan Chase Co., 553 F.3d

187, 205-06 (2d Cir. 2009) (statements that company had “risk management pro-

cesses [that] are highly disciplined and designed to preserve the integrity of the risk

management process” and that it “set the standard for integrity” were puffery).

                    (b) Plaintiffs Have Not Alleged an Actionable Omission

      In addition, Plaintiffs cannot establish that CAC’s alleged failure to disclose

that it was purportedly “violating the law” rendered any of the foregoing statements

misleading. (AC ¶ 100.) The Sixth Circuit has expressly rejected the notion that a

company has a “duty to opine about the legality of [its] own actions” because “[s]uch

information is considered ‘soft’ and, therefore, disclosure is not required.” ISDC,

583 F.3d at 945; see also Sofamor Danek, 123 F.3d at 401-02 (no duty to disclose

that company was “engaging in illegal promotion of its products” because such le-

gality “was a matter of opinion” and not “virtually as certain as hard facts”); accord

Diehl v. Omega Protein Corp., 339 F. Supp. 3d 153, 164 (S.D.N.Y. 2018).

      In ISDC, the Sixth Circuit affirmed dismissal of a securities claim alleging

that a company “had a duty to disclose its involvement in ‘illegal’ activities” based



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on its statement that, “[t]o the best of our knowledge, our purchases of pharmaceu-

ticals comply with all applicable laws and regulations.” Id. at 941, 945-47. The

court explained that “merely making a generic claim that they complied with the law

without providing any specifics” did not give rise to “a duty to disclose [the com-

pany’s] ‘illegal’ operations.” Id. at 946 (emphasis in original). The same is true

with respect to the alleged violations of law here.

      It bears emphasis that “[t]he anti-fraud provisions [of the federal securities

laws] were not intended to provide shareholders with an avenue for relief against

executives for alleged illegal practices or corporate mismanagement.” In re United

Am. Healthcare, No. 2:05-CV-72112 (LPZ/RSW), 2007 WL 313491, at *14 (E.D.

Mich. Jan. 30, 2007) (Zatkoff, J.), aff’d sub nom. Zaluski v. United Am. Healthcare

Corp., 527 F.3d 564 (6th Cir. 2008); see also Santa Fe Indus., Inc. v. Green, 430

U.S. 462, 479 (1977) (“Congress by s 10(b) did not seek to regulate transactions

which constitute no more than internal corporate mismanagement.”). Consequently,

corporations have no duty to confess to unproven allegations of wrongdoing. See

Plumber & Steamfitters Local 773 Pension Fund v. Danske Bank A/S, No. 20-3231,

__ F.4d __, 2021 WL 3744894, at *4 (2d Cir. Aug. 25, 2021) (“[C]ompanies do not

have a duty to disclose uncharged, unadjudicated wrongdoing.”); City of Pontiac,

752 F.3d at 184 (rejecting argument that “in addition to disclosing the existence of

an investigation, defendants were required to disclose that UBS was, in fact, engaged


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in an ongoing tax evasion scheme” (cleaned up)); LendingClub, 423 F. Supp. 3d at

806 (“Defendants were not required to ‘confess’ to the [FTC’s] uncharged allega-

tions . . . in the FTC’s Complaint before it was filed”).

      Importantly, this is not a case where CAC is alleged to have sought to conceal

pending regulatory investigations or enforcement proceedings. To the contrary,

CAC disclosed that the MA AGO and others were investigating the Company, and

provided regular updates throughout the Class Period. (See supra at 8-11.) The

securities laws require nothing further. See United Am. Healthcare, 2007 WL

313491, at *12 (“[W]here there exists a good faith dispute as to facts or an alleged

legal violation, the law only requires disclosure of the dispute.” (cleaned up)); Lend-

ingClub, 423 F. Supp. 3d at 809 (with disclosures “about the risks of the same vio-

lations FTC alleges and [of] the FTC Investigation,” the alleged “omission of the

specific [allegations] in the FTC Action” was not misleading (emphasis in original)).

             3.     Plaintiffs’ Quibbles with CAC’s Descriptions of Its
                    Collection Efforts and Ancillary Products Offerings

      As to the third category of alleged misstatements, Plaintiffs attempt to boot-

strap allegations in the MA Complaint into a securities claim by distorting CAC’s

statements about collection efforts and ancillary products. (See AC ¶¶ 101-04.)

                    (a) CAC’s Description of Its Collection Efforts

      Piggybacking off of the MA AGO’s allegation that CAC placed more collec-

tion calls than authorized by Massachusetts law, Plaintiffs allege that CAC falsely


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stated that its “[c]ollection efforts typically consist of placing a call to the consumer

within one day of the missed payment due date” because CAC “failed to disclose

that [it] made more than one call to defaulting borrowers.” (Id. ¶¶ 101-02.) Plain-

tiffs do not allege that this statement was false, i.e., that CAC does not “plac[e] a call

to the consumer within one day of the missed payment due date.” (Id. ¶ 101.) And

CAC did not state that it places only one collection call; rather, it stated that it typi-

cally places a call “within one day of the missed payment due date.” (Id. ¶ 101.) In

no sense can this statement be read as a guarantee that CAC makes only one call to

customers who have missed a payment. This is precisely the type of “semantic

quibbl[ing]” that has been rejected by the Sixth Circuit and courts in this District.

Benzon, 420 F.3d at 612; Lubbers, 162 F. Supp. 3d at 579, 581.

                    (b) CAC’s Description of Its Ancillary Product Offerings
      Based on the MA AGO’s allegations that certain car dealers improperly told

consumers that the purchase of a vehicle service contract (“VSC”) was mandatory

to obtain financing, Plaintiffs bizarrely assert that CAC misled investors when it

disclosed in its 2018 10-K that CAC “provide[s] Dealers the ability to offer [VSCs]

to consumers.” (AC ¶¶ 103-04.) As an initial matter, Plaintiffs do not—and can-

not—allege that CAC does not provide Dealers the “ability” to offer these products.

(Id. ¶ 103.) Thus, this theory fails. So too does the contention that CAC failed to

disclose that it purportedly “required dealers to sell these addon products and/or



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knew or was reckless in not knowing that these products were sold in violation of

the law.” (Id. ¶¶ 103-04.) Plaintiffs identify no duty to disclose and fail to establish

any relationship between (i) the alleged omission and (ii) the disclosure that CAC

provides dealers the ability to offer products. See Lubbers, 162 F. Supp. 3d at 580.9

B.    Plaintiffs’ Attempt to Plead Scienter Fails as a Matter of Law

      The AC should be dismissed for the separate reason that Plaintiffs do not

“state with particularity facts giving rise to a strong inference that the defendant

acted with the required state of mind.” 15 U.S.C. § 78u-4(b)(2)(A). This require-

ment is “purposefully demanding,” Lubbers, 162 F. Supp. 3d at 576, and is “not

easily satisfied.” Omnicare, 769 F.3d at 461. After considering the pleaded facts,

the documents incorporated into the AC by reference and facts subject to judicial

notice, the Court may “allow[] the complaint to go forward ‘only if a reasonable

person would deem the inference of scienter cogent and at least as compelling as any

opposing inference.’” Id. (citing Tellabs, 551 U.S. at 324).


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  Even assuming that the AC alleges a misstatement or omission (and it does not),
the AC fails to allege a material misstatement or omission, as required to state a
claim. See Zaluski, 527 F.3d at 571. The sole basis for the AC’s threadbare legal
conclusion that CAC was “violating the law” is CAC’s alleged conduct in Massa-
chusetts, which Plaintiffs have purported to “corroborate[]” with scattershot CW al-
legations. (AC ¶ 12; see also id. ¶¶ 33-40, 42-46, 48-56, 59-60, 61-64, 66-78.) But
CAC’s Massachusetts operations comprise only a very small percentage of its busi-
ness. (See supra 12.) It is well settled that quantitative differences of less than 5%
are presumptively immaterial where, as here, Plaintiffs fail to plead any qualitative
factors to rebut the presumption. See USM Holdings Inc. v. Simon, No. 15-14251,
2016 WL 4396061, at *5 (E.D. Mich. Aug. 18, 2016) (Steeh, J.) (collecting cases).

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             1.     Viewed Holistically, Plaintiffs Fail to Plead Scienter
      The Supreme Court has emphasized that “the court’s job is not to scrutinize

each allegation in isolation but to assess all the allegations holistically.” Tellabs,

551 U.S. at 326. Following Tellabs, the Sixth Circuit no longer “sort[s] through

each allegation individually before concluding with a collective approach,” and in-

stead conducts an “entirely collective assessment” to determine whether “all of the

facts alleged, taken collectively, meet the PSLRA’s requirements.” Ashland, Inc. v.

Oppenheimer & Co., 648 F.3d 461, 469-70 (6th Cir. 2011) (emphasis in original).

                    (a) Plaintiffs Make No Attempt to Plead the Helwig Factors

      As part of its holistic analysis, the Sixth Circuit “considers a non-exhaustive

list of nine factors.” Doshi v. Gen. Cable Corp., 823 F.3d 1032, 1039-40 (6th Cir.

2016) (citing Helwig v. Vencor, Inc., 251 F.3d 540, 552 (6th Cir. 2001)).10 Here,

Plaintiffs allege only one of the nine factors, namely, an insider’s stock sales, which,

as discussed below, does not support an inference of scienter.              (See infra


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   The nine factors are: (1) suspicious insider trading; (2) divergence between inter-
nal reports and external statements on the same subject; (3) closeness in time of an
allegedly fraudulent statement and the later disclosure of inconsistent information;
(4) evidence of bribery by a top company official; (5) existence of an ancillary law-
suit charging fraud by a company and the company’s quick settlement of that suit;
(6) disregard of the most current factual information before making statements;
(7) disclosure of accounting information in such a way that its negative implications
could only be understood by someone with a high degree of sophistication; (8) the
personal interest of certain directors in not informing disinterested directors of an
impending sale of stock; and (9) the self-interested motivation of defendants in the
form of saving their salaries or jobs. See Doshi, 823 F.3d at 1039-40.

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§ II(B)(2)(c).) “[T]he absence of these factors [in the AC] indicates the absence of

scienter.” In re Diebold Sec. Litig., No. 5:05CV2873, 2008 WL 3927467, at *7

(N.D. Ohio Aug. 22, 2008), aff’d sub nom. Konkol v. Diebold, Inc., 590 F.3d 390

(6th Cir. 2009); see also Doshi, 823 F.3d at 1041-42 (two of nine factors insufficient

to support inference of scienter); Omnicare, 769 F.3d at 484 (affirming dismissal

when “each of the[] factors cut[] against finding an inference of scienter”).

                   (b) Plaintiffs’ Theory of Scienter Is Nonsensical
      Moreover, the inference advanced by Plaintiffs is nonsensical and lacks any

“basis in logic or common experience.” Endologix, 962 F.3d at 408. Under Plain-

tiffs’ theory, CAC’s top executives devised a plan in the first quarter of 2018 to

mislead the market about the legality of the Company’s business operations. (See

AC ¶¶ 154, 159.) To carry out this plan, Defendants repeatedly disclosed to inves-

tors in painstaking detail the regulatory risks facing CAC. (See id. ¶¶ 92-98; supra

at 6-12.) Defendants further “provide[d] updates to investors on pending regulatory

investigations” throughout the alleged Class Period and warned that “an adverse ul-

timate disposition could . . . have a materially adverse impact on the Company and

its operations.” (AC ¶ 133; see also supra at 8-11.)

      “This is ‘hardly the sort of behavior one would expect from the perpetrator of

securities fraud.’” Pittman v. Unum Grp., No. 20-5710, 2021 WL 2646065, at *6

(6th Cir. June 28, 2021); see Endologix, 962 F.3d at 415 (where theory “does not



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resonate in common experience,” “the PSLRA neither allows nor requires [courts]

to check [their] disbelief at the door”); Silsby v. Icahn, 17 F. Supp. 3d 348, 369-70

(S.D.N.Y. 2014) (disclosures about subject of securities fraud suit “weigh heavily

against scienter”), aff’d sub nom. Lucas v. Icahn, 616 F. App’x 448 (2d Cir. 2015).

                    (c) Plaintiffs Do Not Allege Known Falsity

      Where the core of Plaintiffs’ claim is that Defendants omitted “soft” infor-

mation (i.e., legal noncompliance), they bear the heightened burden of “plead[ing]

facts showing that the defendants knowingly misrepresented or omitted material

facts to deceive, manipulate, or defraud the public.” Omnicare, 769 F.3d at 472; see

ISDC, 583 F.3d at 946 (complaint “fail[ed] to specifically [] allege that defendants

knew their statements of ‘legal compliance’ were false when made”); USM Holdings

Inc. v. Simon, No. 15-14251, 2017 WL 4005939, at *3 (E.D. Mich. Sept. 12, 2017)

(Steeh, J.) (“[M]isrepresentations that concern soft information must satisfy a height-

ened scienter requirement: knowledge, rather than mere recklessness.”).

      Unsurprisingly, Plaintiffs do not allege a single particularized fact showing

that any Defendant made any statements “knowing they were false.” Omnicare, 769

F.3d at 481. While the AC contains a hodgepodge of allegations attributed to low-

level CWs to attempt to “corroborate[]” certain allegations in the MA Complaint

(see AC ¶¶ 41, 47, 57), “the majority of the [CWs] are not identified as having any

contact or interaction with any of the Defendants.” Konkol v. Diebold, Inc., 590



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F.3d 390, 401 (6th Cir. 2009), abrogated in part on other grounds by Matrixx Initi-

atives, Inc. v. Siracusano, 563 U.S. 27 (2011). Indeed, not one of the CWs is alleged

to have any less than three degrees of separation from the Individual Defendants in

CAC’s reporting structure. (See AC ¶¶ 41 & nn.4-8, 57 & nn.9-13, 135 n.18.)11

      At most, Plaintiffs’ allegations show that the Individual Defendants had

knowledge of CAC’s ongoing regulatory investigations—knowledge that is appar-

ent from and consistent with CAC’s public filings. (See AC ¶¶ 133, 135.) But this

hardly establishes that they knew that CAC was “violating the law” (id. ¶ 12) and

intended to defraud the public about that fact. See In re EveryWare Global, Inc. Sec.

Litig., 175 F. Supp. 3d 837, 852 (S.D. Ohio 2016) (“The complaint must allege that

the confidential witnesses were in a position ‘to establish their basis of knowledge

of the alleged misconduct (“what, when, where, and how”) and they must establish

that the defendants were aware of the misconduct.’”), aff’d sub nom. IBEW Local



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  As for the two CWs even alleged to have seen either Individual Defendant in per-
son—CW9 and CW10—those CWs are alleged only to have attended a “quarterly
meeting” with “management” that post-dated the alleged Class Period and an un-
specified “monthly town hall[],” during which the Individual Defendants provided
general updates on ongoing investigations and litigations in a manner consistent with
CAC’s public disclosures. (See AC ¶ 135.) Thus, “[t]hese generalized statements
cannot substitute for specific facts through which a factfinder can strongly infer that
Defendants themselves knew” that their Class Period statements were false. Konkol,
590 F.3d at 401; see also ISDC, 583 F.3d at 945-46 (“complaint fail[ed] specifically
to allege that defendants knew their statements of ‘legal compliance’ were false
when made” when CW allegations did not “establish when the defendants were
aware of the wrongdoing or, for that matter, when the wrongdoing was occurring”).

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No. 58 Annuity Fund v. EveryWare Global, Inc., 859 F.3d 325 (6th Cir. 2017); In re

Huntington Bancshares Inc. Sec. Litig., 674 F. Supp. 2d 951, 963 (S.D. Ohio 2009).

      Without any particularized facts to support an inference of scienter, it becomes

very plain that Plaintiffs’ “allegations amount to impermissible fraud by hindsight.”

Doshi, 823 F.3d at 1044. At base, Plaintiffs contend that because the MA AGO filed

suit on the last day of the Class Period, the Defendants must have known that their

Class Period statements were false. This is insufficient to plead scienter as a matter

of law. See La. Sch. Emps.’ Ret. Sys. v. Ernst & Young, LLP, 622 F.3d 471, 484-85

(6th Cir. 2010) (dismissing “classic fraud by hindsight case” because “the fact that

the statements later turned out to be false is irrelevant . . . under [the] PSLRA”).

                                    *      *      *

      The more compelling inference to be drawn from the AC is that the Defend-

ants: (i) were aware of the intense regulatory environment in which CAC operates

and doing their best to “operate in a highly compliant way” (AC ¶ 93), (ii) were

cooperating with the various ongoing regulatory inquiries facing CAC and “vigor-

ously defend[ing]” CAC in connection with pending litigation (e.g., Ex. L at 2); and

(iii) truly believed that CAC was “in substantial compliance with all applicable laws

and regulations” (AC ¶ 97). Accordingly, the AC should be dismissed.

             2.     Plaintiffs’ Boilerplate Scienter Theories Fail
      Plaintiffs proffer three specific theories for why the Individual Defendants



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(and CAC by implication) acted with scienter. (See id. ¶¶ 128-47.) But none satis-

fies the “[e]xacting” pleading standard of the PSLRA. Tellabs, 551 U.S. at 313.

                   (a) Plaintiffs’ “Core Operations” Theory Is Deficient

      First, Plaintiffs argue that the Individual Defendants’ statements purportedly

concern CAC’s “core operations”: the financing and servicing of Consumer Loans.

(AC ¶¶ 128, 131.) However, the so-called “core operations” doctrine does not pro-

vide an independent basis for pleading scienter. See Stein v. U.S. Express Enters.,

Inc., No. 1:19-cv-98, 2020 WL 3584800, at *37-38 & n.34 (E.D. Tenn. June 30,

2020) (“[T]he core operations presumption is highly fact-dependent, narrow, and,

especially post-Tellabs, is but one consideration among many.”). Rather, Plaintiffs

must plead facts that “raise a strong inference that Defendants acted knowingly.” In

re Federal-Mogul Corp. Sec. Litig., 166 F. Supp. 2d 559, 564 (E.D. Mich. 2001);

see also Doshi v. Gen. Cable Corp., 386 F. Supp. 3d 815, 838 (E.D. Ky. 2019) (core

operations allegations “d[id] not establish” that company “actually knew [its] state-

ments were false”). Even assuming that the Individual Defendants had intimate

knowledge of every aspect of CAC’s “operating condition” and “business practices,”

this does not mean they were experts in the “applicable laws” in each of the 50 states

in which CAC operates (as well as federal law) (AC ¶ 131), much less that they

“actually knew” that CAC’s business practices were unlawful. Doshi, 386 F. Supp.

3d at 838; see also Federal-Mogul Corp., 166 F. Supp. 2d at 564.



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                   (b) Purported Information Access Does Not Show Scienter
      Second, Plaintiffs assert that “the Individual Defendants, by virtue of their

executive roles within the Company, were privy to and/or were given access to the

data that demonstrated Credit Acceptance’s predatory and illegal practices, as iden-

tified in the Massachusetts Attorney General’s enforcement action.” (AC ¶ 137.)

“It is well established that ‘fraudulent intent cannot be inferred merely from the In-

dividual Defendants’ positions in the Company and alleged access to information.’”

Hess v. Am. Physicians Cap., Inc., No. 5:04-CV-31, 2005 WL 459638, at *11 (W.D.

Mich. Jan. 11, 2005) (citing PR Diamonds, Inc. v. Chandler, 364 F.3d 671, 688 (6th

Cir. 2004)); D.E. & J Ltd. P’ship v. Conaway, 284 F. Supp. 2d 719, 743 (E.D. Mich.

2003) (Rosen, J.) (“[C]ourts have routinely rejected the attempt to plead scienter

based on allegations that because of the defendants’ . . . positions, they had access

to information concerning the company’s adverse financial outlook.”), aff’d, 133 F.

App’x 994 (6th Cir. 2005). Rather, a complaint “must allege specific facts or cir-

cumstances suggestive of their knowledge.” PR Diamonds, 364 F.3d at 688.

      Here, Plaintiffs do not allege (i) what specific data or information any Indi-

vidual Defendant actually reviewed, (ii) when they reviewed it or (iii) how that data

or information showed that the statements challenged in the AC were false when

made. This prevents any inference of fraudulent intent. See, e.g., Doshi v. Gen.

Cable Corp., No. 2:14-cv-22 (WOB-CJS), 2015 WL 366644, at *6 (E.D. Ky. Jan.



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27, 2015) (rejecting “access to information” argument when plaintiffs “d[id] not

specify any instance where [d]efendants gained relevant knowledge through these

channels and disregarded it”), aff’d, 823 F.3d 1032 (6th Cir. 2016); City of Pontiac

Gen. Emps.’ Ret. Sys. v. Stryker Corp., 865 F. Supp. 2d 811, 834 & n.9 (W.D. Mich.

2012) (no inference of scienter when plaintiffs “fail[ed] to allege the existence of

any internal [company] documents that contradicted” their alleged misstatements

and when none of the CWs could “testify as to what [d]efendants knew”).12

                    (c) The Alleged Stock Sales Do Not Demonstrate Scienter
      Finally, Plaintiffs rely on Mr. Roberts’s sale of a small percentage of his stock

holdings during the Class Period. (AC ¶ 138.) However, “for individual defendants’



12
   Plaintiffs allege in conclusory fashion that “Defendants were aware of the infor-
mation and data requested” by the regulatory authorities CAC disclosed were inves-
tigating the Company, as well as “the specific focus of the investigations, and the
laws governing the specific conduct under investigation.” (AC ¶¶ 132-33.) But al-
legations of awareness of CAC’s ongoing regulatory investigations and the general
regulatory landscape in which CAC operated are a far cry from pleading with par-
ticularity that the Individual Defendants knew that specific business practices vio-
lated specific laws during the alleged Class Period.
Plaintiffs also include a string of allegations purportedly sourced from unidentified
low-level CWs to attempt to show what types of data and information about CAC’s
business practices may have been available to the Individual Defendants. (See id.
¶ 137.) But the allegations are used for nothing more than conclusory speculation
about what information the Individual Defendants “could [] have” accessed. (Id.
(bullet 5); see also, e.g., id. (bullet 7 (“CW5 went on to say that it would not surprise
them if the CEO and CFO had access to all of the collected data . . . .”)).) “When
confidential sources are used to support ‘vague and conclusory’ allegations, the al-
legations are not ‘accorded much weight.’” Konkol, 590 F.3d at 399.

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stock sales to raise an inference of scienter, plaintiffs must provide a meaningful

trading history for purpose of comparison to the stock sales within the class period,”

including “information on non-Class Period sales, the amount of stock retained by

the Defendants, or . . . whether the amount of stock owned by the Defendants actu-

ally increased during the Class Period.” Konkol, 590 F.3d at 399-400; see also

Comshare, 183 F.3d at 553. Plaintiffs’ tactic fails for multiple reasons.

      First, notwithstanding their allegation that Mr. Booth and Mr. Roberts hatched

a fraudulent scheme, Plaintiffs do not allege that Mr. Booth sold any stock. “The

fact that [the CFO] did not sell any shares during the class period undermines the

suggestion that the Defendants engaged in securities fraud in order to profit from

their own stock sales.” Credit Acceptance, 50 F. Supp. 2d at 677; see also Stryker,

865 F. Supp. 2d at 834-35 (the fact that only one of two officer defendants “sold any

stock during the class period . . . actually undermines an inference of scienter”);

Gruhn v. Tween Brands, Inc., No. 2:07-cv-852, 2009 WL 1542795, at *10 (S.D.

Ohio June 2, 2009) (same); accord PR Diamonds, 364 F.3d at 691.

      Second, Plaintiffs wholly ignore public documents disclosing that Mr. Booth

and CAC purchased CAC stock during the alleged Class Period.13 “These purchases



13
  (See, e.g., Ex. P at 1 (Mr. Booth purchased 3,000 shares on March 19, 2020); Ex.
B at 83 (CAC repurchased 712,448 shares in 2019).) When plaintiffs place defend-
ants’ stock sales at issue, courts may consider Form 4s and other SEC filings that


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undermine any inference of scienter.” Ltd. Brands, 788 F. Supp. 2d at 631; see

Doshi, 386 F. Supp. 3d at 838 (that company “repurchased its own stock during the

Class Period when the stock prices were allegedly inflated . . . ‘undermine[d] any

inference of scienter’” (collecting cases)); In re Century Bus. Servs. Sec. Litig., No.

1:99CV02200, 2002 WL 32254513, at *8 (N.D. Ohio June 27, 2002) (“The Court

finds it improbable that [individual defendant] would seek to ‘increase his wealth’

and ‘enlarge his empire’ by means of purchasing stock at inflated prices.”).

      Third, Plaintiffs do not allege any information concerning “the amount of

stock retained by” Mr. Roberts or whether his holdings “actually increased during

the Class Period.” Konkol, 590 F.3d at 399-400. This information completely un-

dermines Plaintiffs’ assertion that Mr. Roberts sold millions of dollars’ worth of

stock to capitalize on the alleged fraud. (See AC ¶ 138.) Indeed, the very public

documents on which Plaintiffs relied in drafting the AC (see id. ¶ 140) show that Mr.

Roberts’s net stock holdings actually increased during the alleged Class Period even

when accounting for the sales that Plaintiffs tout. (Compare Ex. Q at 1 (382,522

shares prior to first alleged Class Period sale), with Ex. R at 1 (416,011 shares after

last alleged Class Period sale).) Moreover, while Plaintiffs allege that Mr. Roberts




negate an inference of scienter. See, e.g., Huntington Bancshares, 674 F. Supp. 2d
at 969-70 (collecting cases); Grillo v. Tempur-Pedic Int’l, Inc., 553 F. Supp. 2d 809,
821 & n.4 (E.D. Ky. 2008) (citing Bovee, 272 F.2d at 360-61).

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“pocketed over $10.7 million” on August 7, 2020 (AC ¶ 138), they fail to mention

that the shares that Mr. Roberts continued to hold lost over $35.5 million in value

between August 28, 2020, and September 1, 2020. (See id. ¶ 125.)

      Mr. Roberts’s continued stock holdings during the Class Period strongly un-

dermine any inference of scienter. See, e.g., Norfolk Cnty. Ret. Sys. v. Tempur-Pedic

Int’l, Inc., 22 F. Supp. 3d 669, 689 (E.D. Ky. 2014) (no inference of scienter when

officer “retained 85% of his stock” such that when the stock price declined, “he lost

approximately $23.4 million”), aff’d sub nom. Pension Fund Grp. v. Tempur-Pedic

Int’l, Inc., 614 F. App’x 237 (6th Cir. 2015); Campbell v. Lexmark Int’l Inc., 234 F.

Supp. 2d 680, 686 (E.D. Ky. 2002) (“[p]laintiffs’ assertion that defendants sales

were substantial . . . [was] misleading” when “defendants gains ($27 million) pale[d]

in comparison to the decline in value of their retained holdings ($76 million)”).

      Moreover, “[m]any courts have held that the inference of scienter is weak

where an officer sells only a small fraction of the shares owned.” Credit Acceptance,

50 F. Supp. 2d at 677 (collecting cases) (sale of 9% of pre-sale holdings “d[id] little

to reveal fraudulent intent”); see also Campbell, 234 F. Supp. 2d at 686. Here, each

of the Class Period sales represented a small fraction of Mr. Roberts’s holdings:14




14
  Through the table presented in the AC, Plaintiffs misleadingly suggest that Mr.
Roberts had dozens of Class Period sales—a suggestion that is belied by the trans-
action dates of the listed transactions. (See AC ¶ 143.)

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                            No. of                  No. of              % of
 Transaction Date
                          Shares Sold          Pre-Sale Shares     Pre-Sale Shares
     8/2/2018                2,000                 382,522             0.52%
     11/8/2019               9,937                 426,370             2.33%
     6/5/2020               14,476                 451,523             3.21%
     8/7/2020               21,036                 437,047             4.81%

(See AC ¶ 141; see also Ex. Q at 1; Ex. S at 1; Ex. T at 1; Ex. R at 1.) These sales

are insufficient to show scienter. See Credit Acceptance, 50 F. Supp. 2d at 677.15

C.    Plaintiffs Have Failed to Plead Loss Causation
      As an independent basis to dismiss the AC, Plaintiffs also fail to plead loss

causation, i.e., a “causal connection between the material misrepresentation and the

loss.” Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 342 (2005). Plaintiffs’ loss

causation theory is that: (1) Defendants perpetrated a fraud on the market by con-

cealing CAC’s “reliance on predatory and illegal business practices” (AC ¶ 116);

(2) the fraud became known on August 28, 2020, when the MA AGO filed suit (see

id. ¶ 3); and (3) in reaction, CAC’s stock price “fell precipitously” (id. ¶ 117).

      Plaintiffs’ theory fails as a matter of law because the MA Complaint did not



15
   Plaintiffs halfheartedly attempt to suggest culpability based on the retirements of
Mr. Roberts and another former CAC executive (who is not a defendant in this ac-
tion), more than eight months after the close of the alleged Class Period. (See AC
¶¶ 84-86.) “For a resignation to add to an inference of scienter, a pleading must set
forth allegations suggesting a compelling inference that the resignation was the re-
sult of something other than ‘the reasonable assumption that the resignation occurred
as a result of’ the release of bad news.” In re Hertz Global Holdings Inc., 905 F.3d
106, 118 (3d Cir. 2018) (citing Zucco Partners, LLC v. Digimarc Corp., 552 F.3d
981, 1002 (9th Cir. 2009)). Plaintiffs have not done so.

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reveal new information to the market. See In re KBC Asset Mgmt. N.V., 572 F.

App’x 356, 360 (6th Cir. 2014) (no loss causation when alleged corrective disclosure

was “old news”). Where, as here, Plaintiffs invoke the so-called “fraud on the mar-

ket” theory of reliance (see AC ¶¶ 148-50), disclosure of mere “confirmatory infor-

mation,” or information already known by the market, cannot cause a stock drop as

a matter of law because “the market has already digested that information and incor-

porated it into the price.” FindWhat Inv. Grp. v. FindWhat.com, 658 F.3d 1282,

1310 (11th Cir. 2011); see also Basic v. Levinson, 485 U.S. 224, 246 (1988).

      The MA Complaint disclosed to the market that the MA AGO believed that

CAC’s business practices in that state violated that state’s laws. But, as discussed

above (see supra at 9-10), over one year and a half earlier, CAC told investors in

January 2019: “[W]e were informed by representatives of the [MA AGO] that it

believes that the Company may have engaged in unfair and deceptive acts or prac-

tices related to the origination and collection of auto loans.” (Ex. G at 2.) Thus,

“[a]ll of this was public information that the market absorbed long before” the MA

AGO filed the MA Complaint. KBC Asset Mgmt., 572 F. App’x at 360.

      To be sure, CAC’s stock price declined following the announcement of the

MA Complaint. But this does not mean that the MA Complaint “reveal[ed] to the

market that [CAC]’s previous statements were false or fraudulent.” Meyer v.

Greene, 710 F.3d 1189, 1201 (11th Cir. 2013). Plaintiffs allege a cause for the stock


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drop that undermines their conclusory allegations: market speculation about the risk

of future corrective action that could negatively impact CAC’s business operations.

(See AC ¶ 124.) This is specifically described in the Credit Suisse analyst report

selectively quoted throughout the AC. (See id. ¶¶ 9, 124; Ex. U at 1-2.)16

III.   Plaintiffs’ Duplicative “Scheme Liability” Claim Is Legally Insufficient

       Plaintiffs also purport to assert a claim for “scheme liability” under Rule 10b-

5(a) and (c). (See AC ¶¶ 157-65.) “To state a claim based on conduct that violates

Rule 10b-5(a) and (c), [a] plaintiff must allege that a defendant (1) committed a de-

ceptive or manipulative act, (2) with scienter, that (3) the act affected the market for

securities or was otherwise in connection with their purchase or sale, and that (4) de-

fendants’ actions caused the plaintiffs’ injuries.” Byrd v. ViSalus, Inc., No. 17-cv-

12626, 2018 WL 1637948, at *10 (E.D. Mich. Apr. 5, 2018) (Leitman, J.).

       “Crucially, scheme liability hinges on the performance of an inherently



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   Plaintiffs also allege a stock drop on January 31, 2020, but do not attribute the
drop to the alleged fraud. (See AC ¶¶ 120-21.) Instead, Plaintiffs concede that
CAC’s stock price declined on that day because CAC “reported disappointing loan
unit and dollar growth,” “loss of market share, decreased loan volume, lower dealer
signups despite a relation of signup requirements, and higher than expected loan
provisions,” as well as CAC’s “adoption of new accounting standards.” (Id. ¶ 120.)
The federal securities laws are not a “partial downside insurance policy,” Dura
Pharms., 544 U.S. at 348, and Plaintiffs’ failure to “connect the alleged fraud with
the [alleged] disclosure and loss” is fatal to Plaintiffs’ conclusory attempt to plead
loss causation based on CAC’s January 30, 2020 report of its financial results for the
fourth quarter of 2019 and full year 2019. D.E.&.J. Ltd. P’Ship v. Conaway, 133 F.
App’x 994, 1000 (6th Cir. 2005); see also ISDC, 583 F.3d at 944.

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deceptive act that is distinct from an alleged misstatement.” Id. (cleaned up); see

also Benzon, 420 F.3d at 610 (noting that “Rule 10b-5(a) and (c) encompasses con-

duct beyond disclosure violations”); Gordon v. Royal Palm Real Estate Inv. Fund I,

LLLP, No. 09-11770, 2020 WL 2836312, at *5 (E.D. Mich. May 31, 2020) (Tarnow,

J.) (dismissing claim that did not allege “fraudulent scheme, separate and apart from”

claim that defendants “failed to disclose or misrepresented certain information”).

      Here, Plaintiffs’ purported “scheme liability” claim fails because Plaintiffs

merely incorporate the previous paragraphs in the AC and add vague and conclusory

assertions that “Defendants carried out a common plan, scheme, and unlawful course

of conduct that was intended to, and did . . . deceive the investing public . . . .” (AC

¶ 159); see Danske, 2021 WL 3744894, at *4 (rejecting similar allegations because

“[a]t no point d[id] [plaintiffs] articulate with precision the contours of the alleged

scheme to defraud investors, or which specific acts were conducted in furtherance

of it”). Tellingly, Plaintiffs “have not alleged any specific fraudulent acts apart from

their alleged misstatements and omissions” to support their vague and conclusory

scheme liability claim. Byrd, 2018 WL 1637948, at *10.

      To the contrary, the alleged “scheme” is merely “the knowing and/or reckless

suppression and concealment of information regarding Credit Acceptance’s busi-

ness, and compliance with applicable laws and regulations.” (AC ¶ 161; see also id.

¶¶ 12, 27 (same).) Plaintiffs allege that they were injured by this supposed “scheme”


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“when the Defendants’ prior misrepresentations and material omissions were re-

vealed.” (Id. ¶ 119.) Where, as here, “Plaintiffs’ own description of their claim

reveals” that it is “inextricably linked” to alleged misstatements and omissions, and

“not from a separate course of conduct,” Plaintiffs have “failed to plead a viable

scheme liability claim.” Byrd, 2018 WL 1637948, at *10.17

IV.      Plaintiffs Have Failed to State a Section 20(a) Claim
         Plaintiffs’ failure to plead a violation of Section 10(b) requires dismissal of its

Section 20(a) claims. See Doshi, 823 F.3d at 1045; ISDC, 583 F.3d at 947.

                                     CONCLUSION

         For the reasons set forth above, the AC should be dismissed with prejudice.

 Dated: September 2, 2021                      Respectfully submitted:

 SKADDEN, ARPS, SLATE                          DICKINSON WRIGHT PLLC
   MEAGHER & FLOM LLP
                                               By: s/ Thomas G. McNeill
 Scott D. Musoff                               Thomas G. McNeill (P36895)
 Robert A. Fumerton                            500 Woodward Avenue, Suite 4000
 Patrick G. Rideout                            Detroit, Michigan 48226
 One Manhattan West                            (313) 223-3500
 New York, New York 10001                      tmcneill@dickinsonwright.com
 (212) 735-3000
 scott.musoff@skadden.com                      Scott R. Knapp (P61041)
 robert.fumerton@skadden.com                   123 W. Allegan Street, Suite 900
 patrick.rideout@skadden.com                   Lansing, Michigan 48933
                                               (517) 371-1730
                                               sknapp@dickinsonwright.com

                                               Counsel for Defendants

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     Plaintiffs’ claim also fails because they have not pled scienter. (See supra § II(B).)

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